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 3
     Telephone: (916) 422-4022
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                    )
 8   UNITED STATES OF AMERICA,                      )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                           )
                                                    )   STIPULATION AND ORDER
10          v.                                      )   CONTINUANCE OF JUDGMENT AND
                                                    )   SENTENCING
11   JORGE VEGA-MACIAS,                             )
              Defendant.                            )
12                                                  )
13                                                  )

14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for October 5, 2017, is continued to February 22,
16
     2018, at 9:30 a.m. in the same courtroom. Defendant needs additional time to prepare
17
     for sentencing. Justin Lee, Assistant United States Attorney, and Thomas A. Johnson,
18
     Defendant’s attorney, agree to this continuance. The PSR schedule is to be amended as
19
     follows:
20
21   Judgment and Sentencing date:                             February 22, 2018
22
23   Reply or Statement                                        February 15, 2018

24   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  February 8, 2018
25   served on the Probation Officer and opposing
26   counsel no later than:

27   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               January 25, 2018
28   than:


                                                                                             1
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 1
     Counsel’s written objections to the Pre-
 2   Sentence Report shall be delivered to the           January 11, 2018
     Probation Officer and opposing counsel
 3   no later than:
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: October 3, 2017                              /s/ Thomas A. Johnson
                                                         THOMAS A. JOHNSON
 8                                                       Attorney for Jorge Vega-Macias
 9
10                                                       PHILLIP A. TALBERT
                                                         United States Attorney
11
12   Dated: October 3, 2017                              /s/ Justin Lee
                                                         JUSTIN LEE
13
                                                         Assistant U.S. Attorney
14
15                                               ORDER
16
17   IT IS SO ORDERED.
18
     Dated: October 3, 2017
19
                                                         Troy L. Nunley
20                                                       United States District Judge
21
22
23
24
25
26
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